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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION
                      CASE NO. 09-20673-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  OTIS WALKER,

                Defendant.
  _________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Edwin G. Torres,
  on February 4, 2010. A Report and Recommendation filed on
  February 11, 2010 Recommended that the Defendant’s plea of guilty
  be accepted. The Defendant and the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however, none were filed. The Court has conducted a de novo
  review of the entire file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Edwin G. Torres, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Count Forty-Eight of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 28th
  day of April, 2010.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Torres
          Gregory Antonio Samms, Esq.
          Andrea G. Hoffman, AUSA
